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 1     Gretchen  Freeman Cappio
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                          Cappio (pro hac vice)
                                          vice)
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 44    Seattle,
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 66
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       Counsel for  City of
                         of Tacoma
                            Tacoma
 77
 8
 8     (additional counsel
       (additional counsel listed below)
                           listed below)

 99                         UNITED STATES
                            UNITED         DISTRICT COURT
                                   STATES DISTRICT  COURT
10
10                         CENTRAL  DISTRICT OF
                           CENTRAL DISTRICT  OF CALIFORNIA
                                                CALIFORNIA

11
11      In Re:
        In Re: KIA
               KIA HYUNDAI
                   HYUNDAI VEHICLE
                            VEHICLE
12
12      THEFT   MARKETING, SALES
        THEFT MARKETING,     SALES
                                                    No. 8:22-ML-03052-JVS-KES
                                                    No. 8:22-ML-03052-JVS-KES
        PRACTICES, AND
        PRACTICES,   AND PRODUCTS
                          PRODUCTS
13
13      LIABILITY LITIGATION
        LIABILITY   LITIGATION                      The Honorable James
                                                    The Honorable James V.
                                                                        V. Selna
                                                                           Selna
14
14
15
15                                                  PLAINTIFF CITY
                                                    PLAINTIFF CITY OF
                                                                   OF TACOMA’S
                                                                      TACOMA'S
        This Document Relates
        This Document Relates to:
                              to:                   OPPOSITION
                                                    OPPOSITION TO  DEFENDANTS’
                                                                TO DEFENDANTS'
16
16                                                  MOTION TO
                                                    MOTION     DISMISS
                                                            TO DISMISS
        City
        City of
              of Tacoma
                 Tacoma v. Hyundai Motor
                        v. Hyundai  Motor           PLAINTIFF’S COMPLAINT
                                                    PLAINTIFF'S COMPLAINT
17
17
        Company,    Hyundai Motor
        Company, Hyundai     Motor America,
                                   America,
18
18      Kia Corporation,
        Kia                and Kia
             Corporation, and  Kia America,
                                   America,         Hearing Date:
                                                    Hearing Date: September
                                                                  September 9, 2024
                                                                            9, 2024
        Inc.,
        Inc.,                                       Hearing Time:
                                                    Hearing       1:30 pin
                                                            Time: 1:30 pm
19
19
20
20      No. 8:24-cv-01193
        No. 8:24-cv-01193 (C.D.
                          (C.D. Cal.)
                                Cal.)

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                                                           TO MOT.    DISMISS
                                                                   TO DISMISS
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12                    Preemption. .......................................................................................77
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17       No. 21-cv-05808-HSG,
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                                                          4358096 (N.D.  (N.D. Cal.Cal. Sept.
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                Traffic and    Motor Vehicle
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                                                  iii
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 1
 1                                    I.
                                      I.       INTRODUCTION
                                               INTRODUCTION
22            The instant motion
              The instant motion to
                                 to dismiss is de
                                    dismiss is déjà
                                                 ja vu all over
                                                    vu all      again because
                                                           over again because it
                                                                              it is
                                                                                 is comprised
                                                                                    comprised
3
3      solely
       solely of arguments this
              of arguments this Court has already
                                Court has already considered and rejected.
                                                  considered and rejected. Like
                                                                           Like cities across
                                                                                cities across
 44    the country,
       the          the City
           country, the City of
                             of Tacoma,
                                Tacoma, Washington has experienced
                                        Washington has experienced aa skyrocketing
                                                                      skyrocketing
 55    increase in
       increase in the
                   the thefts
                       thefts of Hyundai and
                              of Hyundai and Kia
                                             Kia vehicles
                                                 vehicles in
                                                          in its
                                                             its jurisdiction.
                                                                 jurisdiction. Complaint
                                                                               Complaint
 66    (“Compl.”) ¶¶ 100,
       ("Compl.")    100, City
                          City of
                               of Tacoma
                                  Tacoma v. Hyundai Motor
                                         v. Hyundai Motor Co., No. 8:24-cv-01193
                                                          Co., No.               (C.D.
                                                                   8:24-cv-01193 (C.D.
 77    Cal.
       Cal. June 3, 2024),
            June 3, 2024), Dkt.
                           Dkt. No.
                                No. 1.
                                    1. Like
                                       Like the
                                            the seventeen
                                                seventeen governmental
                                                          governmental entities (“GEs”) in
                                                                       entities ("GEs") in
 8
 8     the Consolidated
       the Consolidated Governmental Entities Complaint
                        Governmental Entities           (“CGEC”), Dkt.
                                              Complaint ("CGEC"), Dkt. No.
                                                                       No. 175,
                                                                           175,
 99    Tacoma
       Tacoma seeks to hold
              seeks to hold Defendants
                            Defendants Hyundai
                                       Hyundai Motor
                                               Motor America
                                                     America ("HMA")
                                                             (“HMA”) and
                                                                     and Kia
                                                                         Kia
10
10     America, Inc.,
       America,       (“KA”) (collectively,
                Inc., ("KA") (collectively, "Defendants"),11 accountable
                                            “Defendants”),   accountable for
                                                                         for the
                                                                             the public
                                                                                 public
11
11     safety
       safety crisis they caused
              crisis they        by choosing
                          caused by          not to
                                    choosing not to equip millions of
                                                    equip millions    their vehicles
                                                                   of their vehicles with
                                                                                     with
12
12     reasonable anti-theft
       reasonable anti-theft technology.
                             technology. Defendants'
                                         Defendants’ decision to design,
                                                     decision to         manufacture, and
                                                                 design, manufacture, and
13
13     distribute these "Susceptible
       distribute these              Vehicles"'2 has
                        “Susceptible Vehicles”   has foreseeably
                                                     foreseeably led
                                                                 led to
                                                                     to significant
                                                                        significant
14
14     downstream impacts on
       downstream impacts    public safety
                          on public        and welfare
                                    safety and welfare in
                                                       in Tacoma’s
                                                          Tacoma's community.
                                                                   community. This
                                                                              This
15
15     Court has already
       Court has already permitted
                         permitted identical
                                   identical claims to proceed,
                                             claims to proceed, including
                                                                including those
                                                                          those of the City
                                                                                of the City
16
16     of
       of Seattle, under the
          Seattle, under the same
                             same Washington
                                  Washington State laws that
                                             State laws that Tacoma brings its
                                                             Tacoma brings its claim under.
                                                                               claim under.
17
17            There is nothing
              There is nothing new
                               new in
                                   in Defendants'
                                      Defendants’ Motion
                                                  Motion to
                                                         to Dismiss
                                                            Dismiss against
                                                                    against Tacoma
                                                                            Tacoma
18
18     (“Motion” or
       ("Motion"    “Mot.”), Dkt.
                 or "Mot."), Dkt. No.
                                  No. 519. Defendants recycle
                                      519. Defendants recycle the
                                                              the same
                                                                  same preemption
                                                                       preemption and
                                                                                  and
19
19     pleading arguments
       pleading arguments that
                          that the
                               the Court analyzed and
                                   Court analyzed and rejected
                                                      rejected in
                                                               in its
                                                                  its previous
                                                                      previous orders
                                                                               orders
20
20     denying Defendants’ motions
       denying Defendants' motions to
                                   to dismiss the CGEC
                                      dismiss the      and the
                                                  CGEC and the City
                                                               City of
                                                                    of Chicago’s
                                                                       Chicago's
21
21
22
22
23
23     1
       1 The  parties filed,
         The parties  filed, and
                             and the
                                  the Court
                                       Court granted,
                                              granted, aa stipulation to voluntarily
                                                          stipulation to voluntarily dismiss
                                                                                      dismiss
24
24       without prejudice
         without  prejudice and    toll Tacoma’s
                             and toll   Tacoma's claim     against the
                                                    claim against  the Defendants'
                                                                       Defendants’ foreign
                                                                                     foreign
         parents, Hyundai
         parents, Hyundai Motor
                             Motor Company
                                     Company and  and Kia
                                                      Kia Corporation,
                                                           Corporation, inin exchange
                                                                             exchange for  those
                                                                                       for those
25
25
         parents’ agreement
         parents' agreement to to provide
                                  provide certain
                                            certain discovery.   Dkt. Nos.
                                                     discovery. Dkt.   Nos. 480,
                                                                             480, 515.
                                                                                  515.
       2
26
26     2 The
         The Susceptible
              Susceptible Vehicles      include all
                            Vehicles include         Hyundai and
                                                 all Hyundai       Kia vehicles
                                                              and Kia   vehicles that
                                                                                 that were
                                                                                      were
         designed,  manufactured, and
         designed, manufactured,      and distributed   without engine
                                           distributed without           immobilizers or
                                                                 engine immobilizers    or other
                                                                                           other
         reasonable anti-theft
         reasonable              technology. See
                     anti-theft technology.     See Compl.
                                                     Compl. ¶¶ 3.
                                                               3.
                                                       1
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 1
 1     Second Amended Complaint.
       Second Amended            Dkt. Nos.
                      Complaint. Dkt. Nos. 270, 547.33 In
                                           270, 547.   In addition,
                                                          addition, Defendants
                                                                    Defendants take
                                                                               take issue
                                                                                    issue
22     with Tacoma’s
       with Tacoma's crime
                     crime statistics, ignoring the
                           statistics, ignoring the elevated
                                                    elevated crime rates Tacoma
                                                             crime rates Tacoma cites in its
                                                                                cites in its
3
3      Complaint, and which
       Complaint, and which would
                            would at most raise
                                  at most raise aa disputed issue of
                                                   disputed issue of fact that cannot
                                                                     fact that        be
                                                                               cannot be
 44    grounds for dismissal
       grounds for           at the
                   dismissal at the pleading
                                    pleading stage.
                                             stage.
 55          1. Preemption.
             1. Preemption. Defendants
                            Defendants again
                                       again argue
                                             argue that
                                                   that federal
                                                        federal law
                                                                law preempts
                                                                    preempts the
                                                                             the claims
                                                                                 claims
 66    of
       of GEs like Tacoma
          GEs like        (Mot. at
                   Tacoma (Mot. at 5-6),
                                   5-6), despite this Court's
                                         despite this Court’s prior
                                                              prior recognition
                                                                    recognition that
                                                                                that the
                                                                                     the
 77    formulation of
       formulation    the claims
                   of the        in the
                          claims in the CGEC—which
                                        CGEC—which Tacoma’s
                                                   Tacoma's Complaint
                                                            Complaint echoes—“does
                                                                      echoes—"does
 8
 8     not even
       not      raise aa question
           even raise    question of preemption.” Dkt.
                                  of preemption." Dkt. No.
                                                       No. 270
                                                           270 at
                                                               at 6.
                                                                  6.
 99          2. Inapplicable
             2. Inapplicable Pleading
                             Pleading Standards.
                                      Standards. Defendants
                                                 Defendants repeat
                                                            repeat an
                                                                   an argument
                                                                      argument they
                                                                               they
10
10     raised in
       raised in their
                 their more
                       more recent
                            recent motions
                                   motions to
                                           to dismiss,
                                              dismiss, aa purported
                                                          purported pleading
                                                                    pleading standard from
                                                                             standard from
11
11     product liability
       product liability cases that is
                         cases that is inapplicable
                                       inapplicable to
                                                    to nuisance
                                                       nuisance claims like Tacoma’s.
                                                                claims like Tacoma's.
12
12     Defendants argue
       Defendants argue that
                        that Tacoma’s
                             Tacoma's Complaint is too
                                      Complaint is too specific in its
                                                       specific in its prescription
                                                                       prescription that
                                                                                    that
13
13     Defendants install
       Defendants install "engine
                          “engine immobilizers
                                  immobilizers or reasonable anti-theft
                                               or reasonable anti-theft technology,"
                                                                        technology,” while
                                                                                     while
14
14     simultaneously making the
       simultaneously making the contradictory argument that
                                 contradictory argument that Tacoma’s prescription is
                                                             Tacoma's prescription is not
                                                                                      not
15
15     specific
       specific enough to satisfy
                enough to satisfy federal
                                  federal notice
                                          notice pleading
                                                 pleading standards.
                                                          standards. Mot.
                                                                     Mot. at
                                                                          at 6-10.
                                                                             6-10. The Court
                                                                                   The Court
16
16     has already
       has already found
                   found this
                         this inconsistent
                              inconsistent Goldilocks argument "unavailing,"
                                           Goldilocks argument “unavailing,” denying
                                                                             denying
17
17     Defendants’ motion
       Defendants' motion to
                          to dismiss
                             dismiss Chicago’s
                                     Chicago's Second Amended Complaint.
                                               Second Amended            Dkt. No.
                                                              Complaint. Dkt. No.
18
18     547 at 6.
       547 at 6.
19
19           3. Tacoma
             3.        Is Experiencing
                Tacoma Is Experiencing aa Hyundai/Kia
                                          Hyundai/Kia Theft Epidemic. Tacoma’s
                                                      Theft Epidemic. Tacoma's
20
20     Complaint
       Complaint details tragic loss
                 details tragic loss of life, property
                                     of life, property damage,
                                                       damage, disruption
                                                               disruption of
                                                                          of quintessential
                                                                             quintessential
21
21     government functions, and
       government functions, and public
                                 public endangerment in Tacoma,
                                        endangerment in         all of
                                                        Tacoma, all of which
                                                                       which are
                                                                             are directly
                                                                                 directly
22
22     linked to
       linked to Defendants'
                 Defendants’ theft-prone
                             theft-prone vehicles.
                                         vehicles. See
                                                   See Compl.
                                                       Compl. ¶¶ 103, 104
                                                              ¶¶ 103, 104 (detailing
                                                                          (detailing fatal
                                                                                     fatal
23
23
24
24     33 In the Lorain
          In the  Lorain matter,
                          matter, the
                                  the Court has yet
                                      Court has yet to
                                                    to issue
                                                       issue aa formal
                                                                formal order but issued
                                                                       order but issued aa
          tentative order
          tentative        again rejecting
                    order again   rejecting Defendants'
                                            Defendants’ preemption
                                                         preemption and
                                                                      and pleading
                                                                          pleading arguments.
                                                                                    arguments.
25
25
          Dkt. No.
          Dkt. No. 542;
                     542; Tentative
                           Tentative Order  Regarding Mot.
                                      Order Regarding  Mot. toto Dismiss
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26        at 4-6,
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             4-6, https://vvvvw.cacd.uscourts.gov/sites/default/files/documents/JVS/TR/22-
          3052%20In%20re%20Kia%20Hyundai%20-
          3052%20In%20re%20Kia%20Hyundai%20-
          %20Tentative%20Order%20re%20MTD%20City%20of%20Lorain%20427.pdf.
          %20Tentative%20Order%20re%20MTD%20City%20or/020Lorain%20427.pdf.
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 11    crashes
       crashes in
               in Tacoma);
                  Tacoma); ¶¶ 106
                              106 (detailing
                                  (detailing aa stolen
                                                stolen Kia
                                                       Kia used
                                                           used as
                                                                as aa battering
                                                                      battering rain
                                                                                ram to
                                                                                     to crash
                                                                                        crash
22     into aa Tacoma
       into    Tacoma store as part
                      store as part of
                                    of aa robbery);
                                          robbery); ¶¶ 108-09 (detailing
                                                    ¶¶ 108-09 (detailing disruption
                                                                         disruption at
                                                                                    at Tacoma
                                                                                       Tacoma
33     middle schools
       middle schools due to joyriding
                      due to joyriding Hyundais
                                       Hyundais and
                                                and Kias).
                                                    Kias). That the Complaint
                                                           That the Complaint also
                                                                              also details
                                                                                   details
 44    tragedies in
       tragedies in neighboring
                    neighboring municipalities
                                municipalities only
                                               only demonstrates how widespread
                                                    demonstrates how widespread the
                                                                                the crisis
                                                                                    crisis
 55    is, and
       is, and given the inherent
               given the inherent transience
                                  transience of vehicles—that is,
                                             of vehicles—that is, they
                                                                  they do not necessarily
                                                                       do not necessarily stop
                                                                                          stop
 66    at the
       at the city limits once
              city limits once stolen, and vehicles
                               stolen, and vehicles stolen in neighboring
                                                    stolen in neighboring jurisdictions
                                                                          jurisdictions may
                                                                                        may be
                                                                                            be
 77    used in
       used in crimes in Tacoma—illustrates
               crimes in                    the impossibility
                         Tacoma—illustrates the impossibility of asking any
                                                              of asking any single
                                                                            single
 8
 8     municipality to
       municipality to fully
                       fully solve this crisis.
                             solve this         Even if
                                        crisis. Even if Tacoma allocated all
                                                        Tacoma allocated all of its budget
                                                                             of its budget to
                                                                                           to
 99    monitor every
       monitor       Kia or
               every Kia    Hyundai registered
                         or Hyundai registered in
                                               in its
                                                  its jurisdiction,
                                                      jurisdiction, aa would-be-thief
                                                                       would-be-thief could
                                                                                      could
10
10     simply
       simply steal
              steal one from nearby
                    one from nearby Fircrest,
                                    Fircrest, Fife,
                                              Fife, or Federal Way
                                                    or Federal     and drive
                                                               Way and       it recklessly
                                                                       drive it recklessly
11
11     or use it
       or use it to
                 to commit
                    commit other
                           other crimes in Tacoma.
                                 crimes in Tacoma.
12
12           The
             The Complaints’
                 Complaints' descriptions
                             descriptions of the impact
                                          of the impact of Defendants’ cost-cutting
                                                        of Defendants'              are by
                                                                       cost-cutting are by
13
13     no means
       no means exhaustive, and the
                exhaustive, and the tragic
                                    tragic events
                                           events cited in the
                                                  cited in the Complaint are merely
                                                               Complaint are merely
14
14     illustrative of
       illustrative    the severity
                    of the severity of the problem.
                                    of the problem. And
                                                    And the
                                                        the problem
                                                            problem continues: theft rates
                                                                    continues: theft rates
15
15     remain elevated,
       remain           and the
              elevated, and the public
                                public remains
                                       remains endangered.
                                               endangered.
16
16           Defendants assert
             Defendants assert that
                               that Tacoma is not
                                    Tacoma is not experiencing
                                                  experiencing aa theft
                                                                  theft epidemic because
                                                                        epidemic because
17
17     more recent
       more recent theft
                   theft rates
                         rates are
                               are not
                                   not at
                                       at the
                                          the all-time
                                              all-time high
                                                       high reached
                                                            reached earlier in the
                                                                    earlier in the crisis.
                                                                                   crisis. While
                                                                                           While
18
18     Hyundai and
       Hyundai and Kia
                   Kia theft
                       theft rates
                             rates in
                                   in Tacoma have decreased
                                      Tacoma have           from the
                                                  decreased from the absolute
                                                                     absolute high
                                                                              high in
                                                                                   in late
                                                                                      late
19
19     December 2022,
       December 2022, when
                      when over 350 such
                           over 350      thefts were
                                    such thefts were reported
                                                     reported that
                                                              that month, the "new
                                                                   month, the “new
20
20     normal” is
       normal" is still nearly ten
                  still nearly ten times higher than
                                   times higher than the
                                                     the pre-crisis
                                                         pre-crisis levels.
                                                                    levels. See
                                                                            See id.
                                                                                id. ¶¶ 100.
                                                                                       100.
21
21           Mount Rainier—called
             Mount Rainier—called "Takh6ma"
                                  “Takhóma” by
                                            by the
                                               the Nisqually
                                                   Nisqually Tribe
                                                             Tribe and “Tacoma” by
                                                                   and "Tacoma" by
22
22     the Puyallup
       the Puyallup tribe—is
                    tribe—is the
                             the tallest
                                 tallest of the peaks
                                         of the       in the
                                                peaks in the Cascade Range. Just
                                                             Cascade Range.      as the
                                                                            Just as the height
                                                                                        height
23
23     of Mount Rainier
       of Mount Rainier does not flatten
                        does not flatten the
                                         the Cascades,
                                             Cascades, the
                                                       the December
                                                           December 2022
                                                                    2022 peak
                                                                         peak in
                                                                              in Hyundai
                                                                                 Hyundai
24
24     and Kia
       and Kia thefts
               thefts does not change
                      does not        the fact
                               change the fact that
                                               that Tacoma remains in
                                                    Tacoma remains in the
                                                                      the throes
                                                                          throes of an
                                                                                 of an
25
25     unprecedented crime
       unprecedented       wave that
                     crime wave that is
                                     is the
                                        the foreseeable
                                            foreseeable result
                                                        result of Defendants’ conduct.
                                                               of Defendants' conduct. That
                                                                                       That
26
26     one
       one specific month’s reported
           specific month's reported thefts
                                     thefts was
                                            was nearly
                                                nearly twenty
                                                       twenty times higher than
                                                              times higher than the
                                                                                the


                                                   33
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                                              TACOMA OPP’N
                                                     OPP'N TO MOT. TO
                                                           TO MOT.    DISMISS
                                                                   TO DISMISS
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 11    pre-crises level
       pre-crises level does not diminish
                        does not          the severity
                                 diminish the severity of the continuing
                                                       of the continuing crisis. And
                                                                         crisis. And
22     Defendants do
       Defendants    not challenge
                  do not           that the
                         challenge that the current rate of
                                            current rate    theft continues
                                                         of theft           to constitute
                                                                  continues to constitute aa
33     public nuisance.
       public nuisance. See
                        See generally
                            generally Motion.
                                      Motion.
 44          Defendants present
             Defendants         no good
                        present no      reason for
                                   good reason     the Court
                                               for the       to diverge
                                                       Court to diverge from its prior
                                                                        from its prior
 55    orders. In short,
       orders. In        the "new"
                  short, the “new” pleading
                                   pleading argument
                                            argument is
                                                     is already
                                                        already stale,
                                                                stale, having
                                                                       having been
                                                                              been heard
                                                                                   heard
 66    and rejected
       and rejected when
                    when raised
                         raised against
                                against Chicago and tentatively
                                        Chicago and tentatively rejected
                                                                rejected in
                                                                         in the
                                                                            the context
                                                                                context of
                                                                                        of
 77    Lorain. The
       Lorain.     “old” preemption
               The "old" preemption argument
                                    argument suffers the same
                                             suffers the same shortcomings the Court
                                                              shortcomings the Court
 8
 8     found in
       found in denying Defendants’ motion
                denying Defendants' motion to
                                           to dismiss the CGEC.
                                              dismiss the       Any further
                                                          CGEC. Any further briefing
                                                                            briefing and
                                                                                     and
 99    oral argument on
       oral argument    settled issues
                     on settled issues would
                                       would be
                                             be aa waste
                                                   waste of the Court's
                                                         of the Court’s and
                                                                        and the
                                                                            the Parties'
                                                                                Parties’
10
10     resources. Accordingly,
       resources. Accordingly, Tacoma requests that
                               Tacoma requests that the
                                                    the Court
                                                        Court deny Defendants’ Motion
                                                              deny Defendants' Motion
11
11     without aa hearing.
       without    hearing.
12
12                                   II.
                                     II.   BACKGROUND
                                           BACKGROUND
13
13     A.
       A.     Defendants Knew
              Defendants Knew Their
                              Their Cost Cutting Would
                                    Cost Cutting Would Harm
                                                       Harm GEs
                                                            GEs Like
                                                                Like Tacoma.
                                                                     Tacoma.
14
14           Like other
             Like other GEs,
                        GEs, Tacoma is experiencing
                             Tacoma is              an unprecedented
                                       experiencing an unprecedented increase
                                                                     increase in
                                                                              in thefts
                                                                                 thefts
15
15     of Hyundai and
       of Hyundai and Kia
                      Kia vehicles.
                          vehicles. Compl.    100-09. As
                                    Compl. ¶¶ 100-09. As thefts
                                                         thefts of these vehicles
                                                                of these vehicles
16
16     skyrocketed,
       skyrocketed, Tacoma was forced
                    Tacoma was forced to
                                      to divert additional time
                                         divert additional time and
                                                                and resources
                                                                    resources to
                                                                              to protect
                                                                                 protect
17
17     public safety
       public        and security.
              safety and           Id. ¶
                         security. Id. ¶ 125.
                                         125. These harms can
                                              These harms     be traced
                                                          can be traced back
                                                                        back to
                                                                             to Defendants'
                                                                                Defendants’
18
18     decision not to
       decision not to equip the Susceptible
                       equip the Susceptible Vehicles with reasonable
                                             Vehicles with reasonable anti-theft
                                                                      anti-theft measures,
                                                                                 measures,
19
19     despite
       despite knowing the foreseeable
               knowing the foreseeable harms
                                       harms that
                                             that would
                                                  would result.
                                                        result. Id.
                                                                Id. ¶¶ 1, 8,
                                                                    ¶¶ 1, 8, 67.
                                                                             67.
20
20            Over fifty years
              Over fifty years ago,
                               ago, federal
                                    federal agencies
                                            agencies recognized
                                                     recognized "that
                                                                “that stolen
                                                                      stolen cars
                                                                             cars constitute
                                                                                  constitute
21
21     aa major
          major hazard
                hazard to
                       to life
                          life and
                               and limb
                                   limb on the highways."
                                        on the highways.” Id.
                                                          Id. ¶¶ 49 (citation omitted).
                                                                 49 (citation omitted).
22
22     Accordingly, the
       Accordingly, the National
                        National Highway
                                 Highway Traffic
                                         Traffic Safety Administration ("NHT
                                                 Safety Administration (“NHTSA”)
                                                                             SA")
23
23     concluded that "a
       concluded that “a reduction
                         reduction of
                                   of the
                                      the incidence
                                          incidence of
                                                    of auto
                                                       auto theft
                                                            theft would
                                                                  would make
                                                                        make aa substantial
                                                                                substantial
24
24     contribution to motor
       contribution to motor vehicle
                             vehicle safety,"
                                     safety,” and
                                              and promulgated
                                                  promulgated vehicle
                                                              vehicle safety
                                                                      safety standards. Id.
                                                                             standards. Id.
25
25     ¶¶ 50 (citation omitted).
          50 (citation omitted).
26
26           Following the
             Following the dramatic rise in
                           dramatic rise in vehicle
                                            vehicle thefts
                                                    thefts in
                                                           in the
                                                              the 1980s
                                                                  1980s and
                                                                        and 1990s
                                                                            1990s due to
                                                                                  due to


                                                 44
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                                            TACOMA OPP’N
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                                                         TO MOT.    DISMISS
                                                                 TO DISMISS
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 11    “hotwiring”—wherein car
       "hotwiring"—wherein     thieves would
                           car thieves would bypass
                                             bypass aa vehicle
                                                       vehicle motor's
                                                               motor’s ignition
                                                                       ignition switch—
                                                                                switch—
22     many car
       many     manufacturers began
            car manufacturers began installing
                                    installing passive
                                               passive engine immobilizers. Id.
                                                       engine immobilizers. Id. ¶¶
                                                                                ¶¶ 53,
                                                                                   53, 55.
                                                                                       55.
33     This anti-theft technology
       This anti-theft technology proved
                                  proved successful—reducing
                                         successful—reducing the
                                                             the overall rate of
                                                                 overall rate of car theft
                                                                                 car theft
 44    by approximately
       by approximately 40 percent from
                        40 percent from 1995
                                        1995 through
                                             through 2008.
                                                     2008. Id.
                                                           Id. ¶¶ 59. Equally important,
                                                                  59. Equally important,
 55    academics noted
       academics noted that
                       that increased
                            increased anti-theft
                                      anti-theft technology
                                                 technology like
                                                            like engine immobilizers made
                                                                 engine immobilizers made
 66    it less
       it less easy for adolescents
               easy for adolescents to
                                    to steal
                                       steal cars, reducing the
                                             cars, reducing the number
                                                                number of juveniles who
                                                                       of juveniles who
 77    embarked
       embarked on
                on aa life
                      life of
                           of crime
                              crime or became career
                                    or became career criminals. Id. ¶¶ 61.
                                                     criminals. Id.        Defendants took
                                                                       61. Defendants took
 8
 8     note and
       note and themselves
                themselves touted
                           touted the
                                  the efficacy
                                      efficacy of immobilizers in
                                               of immobilizers in seeking
                                                                  seeking an
                                                                          an exemption
                                                                             exemption
 99    from certain
       from         parts-making requirements
            certain parts-making requirements for
                                              for their
                                                  their higher-end
                                                        higher-end models.
                                                                   models. Id.
                                                                           Id. ¶¶ 67.
                                                                                  67.
10
10            Yet,
              Yet, despite
                   despite decades
                           decades of research and
                                   of research and findings
                                                   findings supporting the deterrence
                                                            supporting the deterrence effect
                                                                                      effect
11
11     of
       of such anti-theft technology,
          such anti-theft technology, Defendants
                                      Defendants chose not to
                                                 chose not to install
                                                              install reasonable
                                                                      reasonable anti-theft
                                                                                 anti-theft
12
12     measures in
       measures in the
                   the Susceptible
                       Susceptible Vehicles. Id. ¶¶
                                   Vehicles. Id. ¶¶ 67-68.
                                                    67-68. The vulnerability of
                                                           The vulnerability    the
                                                                             of the
13
13     Susceptible
       Susceptible Vehicles—which is unique
                   Vehicles—which is unique to
                                            to Hyundais
                                               Hyundais and
                                                        and Kias—has
                                                            Kias—has led
                                                                     led to
                                                                         to aa
14
14     foreseeable rise
       foreseeable rise in
                        in thefts
                           thefts of those vehicles
                                  of those vehicles in
                                                    in Tacoma and throughout
                                                       Tacoma and throughout the
                                                                             the country.
                                                                                 country.
15
15     Id. ¶¶ 73.
       Id.    73. In the months
                  In the months that
                                that followed,
                                     followed, consumers,
                                               consumers, governmental
                                                          governmental entities, and
                                                                       entities, and
16
16     insurance companies
       insurance           began suing
                 companies began suing Defendants,
                                       Defendants, eventually resulting in
                                                   eventually resulting in the
                                                                           the instant
                                                                               instant
17
17     multidistrict litigation.
       multidistrict litigation.
18
18     B.
       B.     Defendants’ Motion
              Defendants' Motion Needlessly Consumes the
                                 Needlessly Consumes     Court’s and
                                                     the Court's and the
                                                                     the Parties’
                                                                         Parties'
              Resources.
              Resources.
19
19
20
20            Defendants’ ground-hog
              Defendants' ground-hog day motion presents
                                     day motion presents no
                                                         no basis
                                                            basis for
                                                                  for the
                                                                      the Court to depart
                                                                          Court to depart
21
21     from its
       from its well-reasoned
                well-reasoned decisions in this
                              decisions in this MDL.
                                                MDL. Tacoma brings the
                                                     Tacoma brings the same nuisance
                                                                       same nuisance
22
22     claim under the
       claim under the same
                       same state laws as
                            state laws as Seattle
                                          Seattle did in the
                                                  did in the CGEC. Dkt. No.
                                                             CGEC. Dkt. No. 175.
                                                                            175. The
                                                                                 The
23
23     Parties briefed
       Parties briefed Defendants'
                       Defendants’ motion
                                   motion to
                                          to dismiss that claim,
                                             dismiss that        and the
                                                          claim, and the Court already
                                                                         Court already
24
24     determined
       determined Seattle’s
                  Seattle's claim should proceed.
                            claim should proceed. Dkt.
                                                  Dkt. No.
                                                       No. 270.
                                                           270. While the Court
                                                                While the       later
                                                                          Court later
25
25     permitted Defendants
       permitted Defendants to
                            to seek interlocutory review
                               seek interlocutory review on
                                                         on aa narrow
                                                               narrow question
                                                                      question of
                                                                               of duty
                                                                                  duty
26
26     under the
       under the laws
                 laws of
                      of Ohio, New York,
                         Ohio, New       and Wisconsin,
                                   York, and            it denied
                                             Wisconsin, it denied interlocutory
                                                                  interlocutory review
                                                                                review of
                                                                                       of


                                                 55
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                                            TACOMA OPP’N
                                                   OPP'N TO MOT. TO
                                                         TO MOT.    DISMISS
                                                                 TO DISMISS
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 1
 1    the portion
      the portion of its Order
                  of its Order denying Defendants’ motion
                               denying Defendants' motion to
                                                          to dismiss
                                                             dismiss Seattle’s
                                                                     Seattle's claims. Dkt.
                                                                               claims. Dkt.
22    No. 298.
      No. 298.
3
3             Around this
              Around this same time, twelve
                          same time, twelve other
                                            other GEs filed standalone
                                                  GEs filed            complaints.44 To
                                                            standalone complaints.   To
 44   date, Defendants have
      date, Defendants have answered
                            answered five
                                     five of those complaints
                                          of those            and moved
                                                   complaints and moved to
                                                                        to dismiss
                                                                           dismiss
 55   complaints filed by
      complaints filed by Chicago,
                          Chicago, Illinois; Lorain, Ohio;
                                   Illinois; Lorain,       Newark, New
                                                     Ohio; Newark, New Jersey; and
                                                                       Jersey; and
 66   Tacoma, Washington.55
      Tacoma, Washington.
 77                                III.
                                   III.     LEGAL
                                            LEGAL STANDARD
                                                  STANDARD
 8
 8            Unless "a
              Unless “a heightened
                        heightened pleading
                                   pleading standard applies, aa motion
                                            standard applies,    motion to
                                                                        to dismiss under
                                                                           dismiss under
 99   Rule 12(b)(6)
      Rule 12(b)(6) is
                    is analyzed
                       analyzed using
                                using the
                                      the pleading
                                          pleading standard
                                                   standard of
                                                            of Rule
                                                               Rule 8(a)."
                                                                    8(a).” Glazer
                                                                           Glazer Cap.
                                                                                  Cap.
10
10    Mgmt., L.P.
      Mgmt., L.P. v. Forescout Techs.,
                  v. Forescout         Inc., 63
                               Techs., Inc.,    F.4th 747,
                                             63 F.4th 747, 763 (9th Cir.
                                                           763 (9th      2023). "[U]nder
                                                                    Cir. 2023). “[U]nder
11
11    Rule 8(a),
      Rule 8(a), aa plaintiff
                    plaintiff need
                              need only provide ‘enough
                                   only provide         facts to
                                                `enough facts to state
                                                                 state aa claim to relief
                                                                          claim to relief that
                                                                                          that is
                                                                                               is
12
12    plausible on
      plausible    its face.'"
                on its face.’” Austin
                               Austin v.
                                      v. Univ.
                                         Univ. of
                                               of Or.,
                                                  Or., 925 F.3d 1133,
                                                       925 F.3d 1133, 1137
                                                                      1137 (9th
                                                                           (9th Cir.
                                                                                Cir. 2019)
                                                                                     2019)
13
13    (citation omitted).
      (citation           “A claim
                omitted). "A       has facial
                             claim has facial plausibility
                                              plausibility when
                                                           when the
                                                                the plaintiff
                                                                    plaintiff pleads
                                                                              pleads factual
                                                                                     factual
14
14    content that allows
      content that allows the
                          the court to draw
                              court to      the reasonable
                                       draw the reasonable inference
                                                           inference that
                                                                     that the
                                                                          the defendant is
                                                                              defendant is
15
15    liable for
      liable for the
                 the misconduct
                     misconduct alleged."Ashcroft
                                alleged.” Ashcroft v. Iqbal, 556
                                                   v. Iqbal,     U.S. 662,
                                                             556 U.S. 662, 678 (2009). "The
                                                                           678 (2009). “The
16
16    plausibility standard
      plausibility standard is
                            is not
                               not akin
                                   akin to
                                        to aa ‘probability requirement,’ but
                                              `probability requirement,' but it
                                                                             it asks
                                                                                asks for
                                                                                     for more
                                                                                         more
17
17    than aa sheer
      than    sheer possibility
                    possibility that
                                that aa defendant has acted
                                        defendant has acted unlawfully."Id.
                                                            unlawfully.” Id. (citation
                                                                             (citation omitted).
                                                                                       omitted).
18
18            The
              The court must accept
                  court must accept "[a]ll
                                    “[a]ll factual
                                           factual allegations
                                                   allegations .. .. .. as
                                                                        as true"
                                                                           true” and
                                                                                 and draw “all
                                                                                     draw "all
19
19    reasonable inferences
      reasonable inferences .. .. .. in
                                     in favor
                                        favor of the plaintiff."
                                              of the plaintiff.” Austin,
                                                                 Austin, 925 F.3d at
                                                                         925 F.3d at 1137.
                                                                                     1137. The
                                                                                           The
20
20    court will uphold
      court will uphold aa claim if the
                           claim if the plaintiff
                                        plaintiff provides
                                                  provides 'enough
                                                           “‘enough fact[s]
                                                                    fact[s] to
                                                                            to raise
                                                                               raise aa
21
21
      4
22
22      The twelve other GE complaints, in order of filing, are (1) Chicago, Illinois; (2)
      4 The twelve other GE complaints, in order of filing, are (1) Chicago, Illinois; (2)
        Louisville Metro,
        Louisville Metro, Kentucky;
                           Kentucky; (3)
                                       (3) Anne
                                           Anne Arundel
                                                 Arundel County,   Maryland; (4)
                                                           County, Maryland;   (4) Fort
                                                                                   Fort
23
23
        Wayne,  Indiana; (5)
        Wayne, Indiana;   (5) Amherst,
                              Amherst, New
                                        New York;    (6) Syracuse,
                                               York; (6)           New York;
                                                         Syracuse, New          (7) Lorain,
                                                                         York; (7)  Lorain,
24
24      Ohio; (8) Newark,
        Ohio; (8) Newark, New
                            New Jersey,   (9) Lexington,
                                  Jersey, (9) Lexington, Kentucky;
                                                          Kentucky; (10)
                                                                     (10) Durham,
                                                                          Durham, North
                                                                                     North
        Carolina; (11) Nashville,
        Carolina; (11) Nashville, Tennessee;    and (12)
                                   Tennessee; and   (12) Albuquerque,
                                                         Albuquerque, New
                                                                       New Mexico.
                                                                              Mexico.
25
25    5
      5 Chicago’s  First Amended
        Chicago's First  Amended Complaint      was previously
                                    Complaint was    previously dismissed  with leave
                                                                dismissed with   leave to
                                                                                        to
26
26      amend. Dkt.
        amend.  Dkt. No.
                     No. 334.
                          334. The
                               The Court
                                    Court denied   Defendants’ motion
                                           denied Defendants'   motion to
                                                                        to dismiss
                                                                           dismiss Chicago’s
                                                                                    Chicago's
        Second  Amended    Complaint,   which   motion contained
        Second Amended Complaint, which motion contained          preemption
                                                                 preemption   and
                                                                              and   pleading
                                                                                    pleading
        arguments  like those
        arguments like  those in
                              in the
                                 the instant
                                     instant motion.
                                              motion. Dkt.
                                                      Dkt. No.
                                                           No. 547.
                                                               547.
                                                   66
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                                               TACOMA OPP’N
                                                      OPP'N TO MOT. TO
                                                            TO MOT.    DISMISS
                                                                    TO DISMISS
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 1
 1    reasonable expectation
      reasonable             that discovery
                 expectation that           will reveal
                                  discovery will reveal evidence’” to support
                                                        evidence' to          the
                                                                      support the
22    allegations. Starr
      allegations. Starr v. Baca, 652
                         v. Baca,     F.3d 1202,
                                  652 F.3d 1202, 1213
                                                 1213 (9th
                                                      (9th Cir. 2011) (citation
                                                           Cir. 2011) (citation omitted).
                                                                                omitted).
3
3     Further, "[w]here
      Further, “[w]here fraud
                        fraud is
                              is not
                                 not an
                                     an essential
                                        essential element of aa claim,”
                                                  element of            as it
                                                                claim," as it is
                                                                              is not
                                                                                 not here,
                                                                                     here, "only
                                                                                           “only
 44   those allegations
      those allegations of
                        of aa complaint which aver
                              complaint which aver fraud
                                                   fraud are
                                                         are subject to Rule
                                                             subject to Rule 9(b)’s
                                                                             9(b)'s
 55   heightened pleading
      heightened pleading standard."
                          standard.” Kearns
                                     Kearns v. Ford Motor
                                            v. Ford Motor Co.,
                                                          Co., 567 F.3d 1120,
                                                               567 F.3d 1120, 1124
                                                                              1124 (9th
                                                                                   (9th
 66   Cir. 2009).
      Cir. 2009).
 77                                    IV.
                                       IV.    ARGUMENT
                                              ARGUMENT
 8
 8    A.
      A.    Tacoma’s Complaint Does
            Tacoma's Complaint Does Not
                                    Not Raise
                                        Raise aa Question
                                                 Question of
                                                          of Preemption.
                                                             Preemption.
 99         Defendants again
            Defendants again argue—incorrectly—that
                             argue—incorrectly—that Tacoma’s
                                                    Tacoma's Complaint rests on
                                                             Complaint rests on
10
10    Defendants’ failure
      Defendants' failure to
                          to install
                             install engine immobilizers and
                                     engine immobilizers and is
                                                             is therefore
                                                                therefore preempted
                                                                          preempted by
                                                                                    by
11
11    federal law.
      federal law. Mot.
                   Mot. at
                        at 4.
                           4. This
                              This Court previously rejected
                                   Court previously rejected the
                                                             the very
                                                                 very same argument
                                                                      same argument
12
12    because the
      because the CGEC, like Tacoma’s
                  CGEC, like Tacoma's Complaint, “does not
                                      Complaint, "does not impose
                                                           impose aa narrow
                                                                     narrow engine-
                                                                            engine-
13
13    immobilizer requirement."
      immobilizer requirement.” Dkt.
                                Dkt. No.
                                     No. 270
                                         270 at
                                             at 6. Rather, the
                                                6. Rather, the CGEC
                                                               CGEC faults Defendants
                                                                    faults Defendants
14
14    for failing
      for failing to
                  to equip their vehicles
                     equip their vehicles with
                                          with reasonable
                                               reasonable anti-theft
                                                          anti-theft technology,
                                                                     technology, which
                                                                                 which this
                                                                                       this
15
15    Court has held
      Court has held "is
                     “is consistent with the
                         consistent with the broad
                                             broad standard
                                                   standard for
                                                            for required
                                                                required devices under
                                                                         devices under
16
16    FMVSS 114."
      FMVSS 114.” Id.
                  Id. Tacoma’s
                      Tacoma's Complaint is no
                               Complaint is no different.
                                               different.
17
17          Defendants point
            Defendants       to the
                       point to the Court’s
                                    Court's order
                                            order dismissing
                                                  dismissing Chicago’s First Amended
                                                             Chicago's First Amended
18
18    Complaint, but they
      Complaint, but they tellingly
                          tellingly omit the Court’s
                                    omit the Court's observation that this
                                                     observation that this Court
                                                                           Court
19
19    “previously rejected
      "previously rejected Defendants'
                           Defendants’ preemption arguments .. .. .. in
                                       preemption arguments          in the
                                                                        the context
                                                                            context of
                                                                                    of aa
20
20    complaint [i.e., the
      complaint [i.e., the CGEC] that, despite
                           CGEC] that, despite aa handful
                                                  handful of references to
                                                          of references to immobilizers,
                                                                           immobilizers,
21
21    discussed anti-theft technology
      discussed anti-theft technology overall in aa broad
                                      overall in    broad sense.” Dkt. No.
                                                          sense." Dkt. No. 334
                                                                           334 at
                                                                               at 6.
                                                                                  6. Just as
                                                                                     Just as
22
22    in the
      in the CGEC,
             CGEC, Tacoma’s
                   Tacoma's Complaint provides aa historical
                            Complaint provides    historical overview that describes
                                                             overview that describes
23
23    immobilizers as
      immobilizers as aa widely
                         widely accepted
                                accepted and
                                         and effective anti-theft method.
                                             effective anti-theft method. As
                                                                          As in
                                                                             in the
                                                                                the CGEC,
                                                                                    CGEC,
24
24    Tacoma’s
      Tacoma's Complaint
               Complaint does not rest
                         does not rest on
                                       on aa failure
                                             failure by
                                                     by Defendants
                                                        Defendants to
                                                                   to use
                                                                      use immobilizers
                                                                          immobilizers
25
25    specifically. See generally
      specifically. See generally Compl. ¶¶ 123,
                                  Compl. ¶¶ 123, 125,
                                                 125, 143,
                                                      143, 150,
                                                           150, 162-63.
                                                                162-63. The
                                                                        The Court may
                                                                            Court may
26
26    end its analysis
      end its analysis there
                       there and
                             and find
                                 find that
                                      that aa full
                                              full preemption
                                                   preemption analysis
                                                              analysis is
                                                                       is not
                                                                          not required.
                                                                              required. Dkt.
                                                                                        Dkt.


                                                  77
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                                             TACOMA OPP’N
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                                                          TO MOT.    DISMISS
                                                                  TO DISMISS
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 1
 1    No. 270
      No. 270 at
              at 6.
                 6.
22    B.
      B.    Tacoma’s Complaint Does
            Tacoma's Complaint Does Not Conflict with
                                    Not Conflict with Federal
                                                      Federal Law.
                                                              Law.
3
3           Federal law
            Federal law can
                        can expressly
                            expressly or impliedly preempt
                                      or impliedly preempt state law. Defendants
                                                           state law. Defendants do not
                                                                                 do not
 44   argue that
      argue that express preemption applies
                 express preemption applies to
                                            to Tacoma’s
                                               Tacoma's common law action,
                                                        common law action, nor
                                                                           nor is
                                                                               is there
                                                                                  there
 55   support for such
      support for such an
                       an argument
                          argument in
                                   in either the Safety
                                      either the        Act (the
                                                 Safety Act (the "Act")
                                                                 “Act”) or FMVSS 114.
                                                                        or FMVSS 114.
 66   See Geier
      See Geier v. Am. Honda
                v. Am. Honda Motor
                             Motor Co.,
                                   Co., 529 U.S. 861,
                                        529 U.S. 861, 868
                                                      868 (2000)
                                                          (2000) (holding
                                                                 (holding that
                                                                          that the
                                                                               the
 77   express preemption provision
      express preemption provision in
                                   in the
                                      the Safety Act "excludes
                                          Safety Act “excludes common-law actions”).
                                                               common-law actions").
 8
 8    Accordingly, Defendants
      Accordingly, Defendants must
                              must show
                                   show the
                                        the Act
                                            Act impliedly
                                                impliedly preempts
                                                          preempts state
                                                                   state law
                                                                         law based
                                                                             based on
                                                                                   on
 99   Congress’s intent to
      Congress's intent to occupy the field
                           occupy the field at
                                            at issue
                                               issue ("field
                                                     (“field preemption")
                                                             preemption”) or
                                                                          or because
                                                                             because state
                                                                                     state
10
10    law "conflict[s]
      law “conflict[s] with
                       with aa federal
                               federal statute,"
                                       statute,” ("conflict
                                                 (“conflict preemption").
                                                            preemption”). Crosby
                                                                          Crosby v. Nat’l
                                                                                 v. Nat'l
11
11    Foreign Trade
      Foreign Trade Council,
                    Council, 530 U.S. 363,
                             530 U.S. 363, 372
                                           372 (2000).
                                               (2000).
12
12          Conflict preemption applies
            Conflict preemption applies when
                                        when conflicts between state
                                             conflicts between       and federal
                                                               state and         law (1)
                                                                         federal law (1)
13
13    “make it
      "make it ‘impossible’ for private
               `impossible' for private parties to comply
                                        parties to        with both
                                                   comply with both state and federal
                                                                    state and federal law,"
                                                                                      law,”
14
14    or (2) "prevent
      or (2) “prevent or frustrate the
                      or frustrate the accomplishment
                                       accomplishment of
                                                      of aa federal
                                                            federal objective.”
                                                                    objective." Geier,
                                                                                Geier, 529
                                                                                       529
15
15    U.S. at
      U.S. at 873 (citation omitted).
              873 (citation omitted).
16
16          Here, Defendants
            Here, Defendants raise
                             raise no
                                   no argument
                                      argument that
                                               that field
                                                    field preemption
                                                          preemption applies.
                                                                     applies. Instead,
                                                                              Instead, as
                                                                                       as
17
17    they did
      they     before, they
           did before, they argue
                            argue imposing
                                  imposing liability
                                           liability for
                                                     for their
                                                         their corner-cutting would frustrate
                                                               comer-cutting would  frustrate
18
18    FMVSS 114's
      FMVSS 114’s purported
                  purported objective
                            objective of
                                      of ensuring
                                         ensuring flexibility
                                                  flexibility for manufacturers—a form
                                                              for manufacturers-a form
19
19    of
      of conflict preemption. But
         conflict preemption. But Defendants'
                                  Defendants’ assertion
                                              assertion of
                                                        of aa conflict rests on
                                                              conflict rests    an improper
                                                                             on an improper
20
20    characterization
      characterization of the claim
                       of the       asserted in
                              claim asserted in Tacoma’s
                                                Tacoma's Complaint and ignores
                                                         Complaint and ignores other
                                                                               other
21
21    important policy
      important policy objectives
                       objectives of FMVSS 114.
                                  of FMVSS 114.
22
22          Contrary to Defendants'
            Contrary to Defendants’ arguments,
                                    arguments, Tacoma
                                               Tacoma does not seek
                                                      does not seek the
                                                                    the use
                                                                        use of
                                                                            of aa
23
23    specific technology, such
      specific technology,      as engine
                           such as        immobilizers. Rather,
                                   engine immobilizers. Rather, Tacoma
                                                                Tacoma seeks to hold
                                                                       seeks to hold
24
24    Defendants responsible
      Defendants responsible for
                             for designing, manufacturing, and
                                 designing, manufacturing, and distributing vehicles that
                                                               distributing vehicles that
25
25    are unreasonably
      are unreasonably easy to steal.
                       easy to        Defendants can
                               steal. Defendants can comply with their
                                                     comply with their duties in aa myriad
                                                                       duties in    myriad
26
26    of ways and
      of ways and without
                  without restricting
                          restricting the
                                      the flexibility
                                          flexibility Defendants
                                                      Defendants contend underpins FMVSS
                                                                 contend underpins FMVSS


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                                                                  TO DISMISS
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 11   114.
      114.
22           Moreover, unlike
             Moreover, unlike Geier where the
                              Geier where the choices at issue
                                              choices at issue included
                                                               included "airbags"
                                                                        “airbags” versus
                                                                                  versus
33    “other passive
      "other passive restraint
                     restraint systems,
                               systems, such as automatic
                                        such as automatic belts
                                                          belts or passive interiors,"
                                                                or passive interiors,” id. at
                                                                                       id. at
 44   881, Tacoma’s
      881, Tacoma's Complaint
                    Complaint does not rely
                              does not rely on the use
                                            on the use of
                                                       of aa conflicting
                                                             conflicting or
                                                                         or even
                                                                            even aa single
                                                                                    single
 55   technology. As
      technology. As this
                     this Court previously recognized,
                          Court previously recognized, such language regarding
                                                       such language regarding the
                                                                               the need
                                                                                   need
 66   for some
      for      reasonable "`anti-theft
          some reasonable “‘anti-theft technology'
                                       technology’ is
                                                   is consistent with the
                                                      consistent with the broad
                                                                          broad standard
                                                                                standard
 77   for required
      for required devices under FMVSS
                   devices under FMVSS 114."
                                       114.” Dkt.
                                             Dkt. No.
                                                  No. 270
                                                      270 at
                                                          at 6.
                                                             6.
 8
 8           Even if
             Even if Tacoma’s
                     Tacoma's Complaint would restrict
                              Complaint would restrict aa manufacturer's
                                                          manufacturer’s choice
                                                                         choice of
                                                                                of anti-
                                                                                   anti-
 99   theft devices
      theft         (and it
            devices (and it does not), such
                            does not), such aa restriction
                                               restriction does not implicate
                                                           does not implicate conflict
                                                                              conflict
10
10    preemption where
      preemption where "it
                       “it does not ‘stan[d]
                           does not          as an
                                    `stan[d] as an obstacle to the
                                                   obstacle to the accomplishment
                                                                   accomplishment .. .. .. of
                                                                                           of
11
11    the full
      the full purposes
               purposes and
                        and objectives’
                            objectives' of federal law."
                                        of federal law.” Williamson
                                                         Williamson v. Mazda Motor
                                                                    v. Mazda Motor of Am.,
                                                                                   ofAm.,
12
12    Inc., 562
      Inc.,     U.S. 323,
            562 U.S. 323, 336
                          336 (2011)
                              (2011) (alterations
                                     (alterations in
                                                  in original) (citation omitted).
                                                     original) (citation           Defendants
                                                                         omitted). Defendants
13
13    paint aa narrow
      paint    narrow picture
                      picture of FMVSS 114
                              of FMVSS 114 as
                                           as requiring
                                              requiring complete
                                                        complete deference and flexibility
                                                                 deference and flexibility
14
14    to vehicle
      to vehicle manufacturers.
                 manufacturers. But
                                But Defendants
                                    Defendants forget
                                               forget that
                                                      that the
                                                           the primary
                                                               primary goals in enacting
                                                                       goals in enacting
15
15    federal safety
      federal        regulations such
              safety regulations      as FMVSS
                                 such as FMVSS 114
                                               114 are to prevent
                                                   are to         vehicle theft
                                                          prevent vehicle theft and
                                                                                and
16
16    improve public
      improve public safety. Accordingly, Defendants
                     safety. Accordingly, Defendants fail to show
                                                     fail to      that Tacoma’s
                                                             show that Tacoma's
17
17    Complaint
      Complaint conflicts with the
                conflicts with the full
                                   full purposes
                                        purposes and
                                                 and objectives
                                                     objectives of federal law.
                                                                of federal law.
18
18    C.
      C.     Tacoma’s Complaint Satisfies
             Tacoma's Complaint Satisfies Federal
                                          Federal Pleading
                                                  Pleading Standards.
                                                           Standards.
19
19           In incorrectly
             In incorrectly arguing
                            arguing that
                                    that the
                                         the Complaint must specifically
                                             Complaint must              identify the
                                                            specifically identify the defects
                                                                                      defects
20
20    at issue
      at issue here,
               here, Mot.
                     Mot. at
                          at 6-8,
                             6-8, Defendants
                                  Defendants again
                                             again mischaracterize
                                                   mischaracterize the
                                                                   the nature
                                                                       nature of
                                                                              of Tacoma’s
                                                                                 Tacoma's
21
21    legal claim.
      legal claim. Specifically, Defendants rely
                   Specifically, Defendants rely on inapplicable caselaw
                                                 on inapplicable         regarding product
                                                                 caselaw regarding product
22
22    liability
      liability claims where courts
                claims where        required plaintiffs
                             courts required plaintiffs to
                                                        to identify
                                                           identify the
                                                                    the particular
                                                                        particular defect at
                                                                                   defect at
23
23    issue and
      issue and the
                the problem
                    problem caused by the
                            caused by the defect. Id. at
                                          defect. Id. at 6.
                                                         6.
24
24           Yet,
             Yet, Tacoma
                  Tacoma does not bring
                         does not bring aa product
                                           product liability
                                                   liability claim.
                                                             claim. The
                                                                    The sole
                                                                        sole claim is for
                                                                             claim is for
25
25    public nuisance,
      public nuisance, aa statutory
                          statutory claim
                                    claim governed by RCW
                                          governed by RCW 7.48.010, that is
                                                          7.48.010, that is not
                                                                            not swept into
                                                                                swept into
26
26    the Washington
      the            Product Liability
          Washington Product Liability Act.
                                       Act. See
                                            See City
                                                City of Seattle v.
                                                     of Seattle    Monsanto Co.,
                                                                v. Monsanto      237 F.
                                                                            Co., 237 F.


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 11   Supp. 3d 1096,
      Supp. 3d 1096, 1102
                     1102 (W.D.
                          (W.D. Wash. 2017) ("Seattle's
                                Wash. 2017) (“Seattle’s claims
                                                        claims for
                                                               for public nuisance and
                                                                   public nuisance and
22    equitable indemnity are
      equitable indemnity are not
                              not preempted
                                  preempted because
                                            because they
                                                    they are
                                                         are not
                                                             not common-law product
                                                                 common-law product
33    liability claims.”).
      liability claims."). The
                           The Court
                               Court saw through this
                                     saw through this "unavailing"
                                                      “unavailing” argument
                                                                   argument when
                                                                            when denying
                                                                                 denying
 44   Defendants’ most
      Defendants' most recent
                       recent motion
                              motion to
                                     to dismiss
                                        dismiss Chicago’s
                                                Chicago's Second Amended Complaint,
                                                          Second Amended Complaint,
 55   because Chicago
      because         “does not
              Chicago "does not bring
                                bring aa products
                                         products liability
                                                  liability claim.” Dkt. No.
                                                            claim." Dkt. No. 547 at 6.
                                                                             547 at 6.
 66          As this
             As this Court previously noted,
                     Court previously noted, "Defendants
                                             “Defendants unduly
                                                         unduly narrow
                                                                narrow the
                                                                       the alleged
                                                                           alleged harm
                                                                                   harm
 77   by focusing
      by focusing solely
                  solely on
                         on design
                            design defects.” Dkt. No.
                                   defects." Dkt. No. 270
                                                      270 at
                                                          at 13.
                                                             13. Nothing
                                                                 Nothing has
                                                                         has changed
                                                                             changed since
                                                                                     since
 8
 8    then. Tacoma’s
      then. Tacoma's claim, like those
                     claim, like those the
                                       the Court previously found
                                           Court previously found sufficient,
                                                                  sufficient, are not
                                                                              are not
 99   premised on
      premised on aa design
                     design defect.
                            defect. The
                                    The design
                                        design defect
                                               defect cases Defendants cite
                                                      cases Defendants cite do not change
                                                                            do not change
10
10    that and
      that and whatever
               whatever holdings
                        holdings they
                                 they reach
                                      reach are
                                            are limited
                                                limited to
                                                        to product
                                                           product liability
                                                                   liability claims and
                                                                             claims and
11
11    related claims
      related        with elements
              claims with          that require
                          elements that require defects. For instance,
                                                defects. For instance, in
                                                                       in Raynaldo
                                                                          Raynaldo v.
                                                                                   v.
12
12    American Honda
      American Honda Motor
                     Motor Co., No. 21-cv-05808-HSG,
                           Co., No. 21-cv-05808-HSG, 2022
                                                     2022 WL
                                                          WL 4358096 (N.D. Cal.
                                                             4358096 (N.D. Cal.
13
13    Sept. 20, 2022),
      Sept. 20, 2022), the
                       the plaintiffs
                           plaintiffs alleged
                                      alleged that
                                              that some unspecified "electrical
                                                   some unspecified “electrical components”
                                                                                components"
14
14    failed to
      failed to shut
                shut down when the
                     down when the subject
                                   subject vehicles
                                           vehicles were
                                                    were parked
                                                         parked and
                                                                and turned
                                                                    turned off, resulting
                                                                           off, resulting
15
15    in battery
      in battery draining. Id. at
                 draining. Id. at *1. In this
                                  *1. In this unreported
                                              unreported case Defendants rely
                                                         case Defendants rely on, the court
                                                                              on, the court
16
16    dismissed the product
      dismissed the product liability
                            liability claims for failing
                                      claims for failing to
                                                         to identify
                                                            identify the
                                                                     the alleged
                                                                         alleged defect, and
                                                                                 defect, and
17
17    also dismissed
      also dismissed claims for fraudulent
                     claims for fraudulent concealment (an element
                                           concealment (an element of which was
                                                                   of which was pre-sale
                                                                                pre-sale
18
18    knowledge of
      knowledge    the defect);
                of the          and breach
                       defect); and breach of
                                           of express and implied
                                              express and implied warranty
                                                                  warranty (an
                                                                           (an element
                                                                               element
19
19    of which is
      of which is aa defect which violates
                     defect which violates the
                                           the applicable
                                               applicable warranty).
                                                          warranty). Id.
                                                                     Id. at
                                                                         at *9, 10, 15.
                                                                            *9, 10, 15. Rather
                                                                                        Rather
20
20    than identify
      than identify any
                    any specific
                        specific electrical
                                 electrical component,
                                            component, or
                                                       or common issue, the
                                                          common issue, the plaintiffs
                                                                            plaintiffs
21
21    inferred "parasitic
      inferred “parasitic draining” must exist
                          draining" must exist due to reports
                                               due to reports of
                                                              of battery
                                                                 battery draining and
                                                                         draining and
22
22    electrical issues. Id.
      electrical issues. Id. at
                             at *5.
                                *5.
23
23           In contrast,
             In           the sole
                contrast, the sole claim asserted by
                                   claim asserted by Tacoma is one
                                                     Tacoma is one for
                                                                   for public nuisance, the
                                                                       public nuisance, the
24
24    elements
      elements of which are
               of which are (1)
                            (1) conduct that contributed
                                conduct that             to maintaining
                                             contributed to maintaining or
                                                                        or creating
                                                                           creating aa
25
25    condition which (2)
      condition which (2) obstructs any highway
                          obstructs any highway or is injurious
                                                or is injurious to
                                                                to health
                                                                   health or an obstruction
                                                                          or an obstruction
26
26    to the
      to the free
             free use
                  use of property so
                      of property so as
                                     as to
                                        to essentially interfere with
                                           essentially interfere with the
                                                                      the comfortable
                                                                          comfortable


                                                10
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                                             TACOMA OPP’N
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 11   enjoyment
      enjoyment of life and
                of life and property.
                            property. See
                                      See RCW
                                          RCW 7.48.010.
                                              7.48.010. The
                                                        The existence
                                                            existence of
                                                                      of aa defect, let
                                                                            defect, let
22    alone the
      alone the particularized
                particularized identification
                               identification of
                                              of aa defect, is not
                                                    defect, is not an
                                                                   an element of that
                                                                      element of that claim, and
                                                                                      claim, and
33    there is
      there is no
               no requirement
                  requirement to
                              to give notice of
                                 give notice of aa defect in aa claim
                                                   defect in          for public
                                                                claim for public nuisance.
                                                                                 nuisance. In
                                                                                           In
 44   City
      City of Seattle, aa Washington
           of Seattle,               District Court
                          Washington District Court expressly
                                                    expressly discussed the requisite
                                                              discussed the requisite notice
                                                                                      notice
 55   pleading standards
      pleading           for that
               standards for that city’s
                                  city's product liability claim,
                                         product liability        but that
                                                           claim, but that standard was not
                                                                           standard was not
 66   applicable to
      applicable to the
                    the city’s
                        city's separate public nuisance
                               separate public nuisance claim, which the
                                                        claim, which the court allowed to
                                                                         court allowed to
 77   proceed. Compare
      proceed.         237 F.
               Compare 237 F. Supp. 3d at
                              Supp. 3d at 1108-09
                                          1108-09 (product
                                                  (product liability
                                                           liability claim required
                                                                     claim required
 8
 8    identification of
      identification of defect that existed
                        defect that         in the
                                    existed in the product
                                                   product when
                                                           when it
                                                                it left
                                                                   left Monsanto's
                                                                        Monsanto’s hands),
                                                                                   hands),
 99   with id.
      with     at 1106
           id. at 1106 (specific
                       (specific nature
                                 nature of the PCB's
                                        of the PCB’s defect not mentioned
                                                     defect not mentioned in
                                                                          in determining
                                                                             determining
10
10    the viability
      the viability of the city’s
                    of the        public nuisance
                           city's public nuisance claim).
                                                  claim).
11
11          Thus,
            Thus, Tacoma’s
                  Tacoma's Complaint
                           Complaint does not hinge
                                     does not hinge on
                                                    on sufficiently
                                                       sufficiently demonstrating the
                                                                    demonstrating the
12
12    specifics
      specifics of an automobile
                of an automobile defect but rather
                                 defect but rather by
                                                   by showing that Defendants'
                                                      showing that Defendants’ conduct
                                                                               conduct
13
13    substantially
      substantially contributed to the
                    contributed to the creation
                                       creation of
                                                of aa public
                                                      public nuisance,
                                                             nuisance, which
                                                                       which Tacoma has pled
                                                                             Tacoma has pled
14
14    at length.
      at length. See,
                 See, e.g.,
                      e.g., Compl.
                            Compl. ¶¶
                                   ¶¶ 53-65 (describing Defendants'
                                      53-65 (describing Defendants’ misconduct).
                                                                    misconduct).
15
15                                    V.
                                      V.     CONCLUSION
                                             CONCLUSION
16
16          The
            The same reasons that
                same reasons that led
                                  led to
                                      to the
                                         the Court's
                                             Court’s outright
                                                     outright denial
                                                              denial of the motion
                                                                     of the motion to
                                                                                   to
17
17    dismiss
      dismiss Seattle’s nuisance claim
              Seattle's nuisance       in the
                                 claim in the CGEC
                                              CGEC support
                                                   support aa similar
                                                              similar outcome here. The
                                                                      outcome here. The
18
18    legal basis
      legal basis for
                  for Tacoma’s
                      Tacoma's claim is identical
                               claim is identical in
                                                  in all
                                                     all material
                                                         material respects
                                                                  respects to
                                                                           to Seattle’s
                                                                              Seattle's claim
                                                                                        claim
19
19    in the
      in the CGEC, and there
             CGEC, and there is
                             is no
                                no reason
                                   reason to
                                          to depart from this
                                             depart from this Court’s well-reasoned order
                                                              Court's well-reasoned order
20
20    permitting that
      permitting that claim to proceed.
                      claim to proceed. Defendants'
                                        Defendants’ only “new” argument
                                                    only "new" argument fails
                                                                        fails to
                                                                              to
21
21    appreciate the
      appreciate the nature
                     nature of the sole
                            of the sole claim at issue
                                        claim at issue here.
                                                       here. Tacoma
                                                             Tacoma does not bring
                                                                    does not bring aa product
                                                                                      product
22
22    liability claim,
      liability claim, so there is
                       so there is no
                                   no heightened
                                      heightened pleading
                                                 pleading standard requiring Tacoma
                                                          standard requiring        to
                                                                             Tacoma to
23
23    identify aa particular
      identify    particular defect. Accordingly, Tacoma
                             defect. Accordingly,        respectfully requests
                                                  Tacoma respectfully requests the
                                                                               the Court
                                                                                   Court
24
24    deny Defendants’ Motion.
      deny Defendants' Motion.
25
25
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26


                                                 11
       No. 8:22-ML-03052-JVS-KES
       No. 8:22-ML-03052-JVS-KES             TACOMA
                                             TACOMA OPP’N
                                                    OPP'N TO MOT. TO
                                                          TO MOT.    DISMISS
                                                                  TO DISMISS
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                                           ID #:17256



 1
 1    RESPECTFULLY SUBMITTED
      RESPECTFULLY           this 19th
                   SUBMITTED this 19th day
                                       day of AUGUST, 2024.
                                           of AUGUST, 2024.
22
       CITY
       CITY OF
            OF TACOMA
               TACOMA                        KELLER ROHRBACK
                                             KELLER ROHRBACK L.L.P.
                                                             L.L.P.
3
3
 44    By /s/Jennifer
       By  /s/ Jennifer Taylor
                        Taylor               By /s/
                                             By  /s/ Gretchen  Freeman Cappio
                                                     Gretchen Freeman   Cappio
       Jennifer
       Jennifer Taylor   (pro hac
                 Taylor (pro  hac vice)
                                  vice)      Gretchen   Freeman Cappio
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                                                                 Cappio (pro   hac vice)
                                                                                   vice)
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                City Attorney                Derek W.
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                                                     Gaffney (pro  hac vice)
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                                                                        of Tacoma
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       No. 8:22-ML-03052-JVS-KES
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                                            TACOMA OPP’N
                                                   OPP'N TO MOT. TO
                                                         TO MOT.    DISMISS
                                                                 TO DISMISS
      Case 8:22-ml-03052-JVS-KES     Document 550 Filed 08/19/24       Page 17 of 18 Page
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 1
 1                          CERTIFICATE OF
                            CERTIFICATE OF COMPLIANCE
                                           COMPLIANCE
22          The undersigned, counsel
            The undersigned, counsel of record for
                                     of record     Plaintiff City
                                               for Plaintiff City of
                                                                  of Tacoma,
                                                                     Tacoma, certifies that
                                                                             certifies that
3
3     this brief
      this brief contains 3,329 words,
                 contains 3,329 words, which
                                       which complies with the
                                             complies with the word
                                                               word limit
                                                                    limit of
                                                                          of L.R.
                                                                             L.R. 11-6.1.
                                                                                  11-6.1.
 44
                                             KELLER ROHRBACK
                                             KELLER ROHRBACK L.L.P.
                                                             L.L.P.
 55
 66                                          By /s/
                                             By /s/ Gretchen Freeman Cappio
                                                    Gretchen Freeman   Cappio
                                             Gretchen  Freeman Cappio
                                             Gretchen Freeman          (pro hac
                                                                Cappio (pro hac vice)
                                                                                vice)
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                                             Counsel  for Plaintiff
                                             Counsel for  Plaintiff City
                                                                    City of
                                                                         of Tacoma
                                                                            Tacoma
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       No. 8:22-ML-03052-JVS-KES
       No. 8:22-ML-03052-JVS-KES           TACOMA
                                           TACOMA OPP’N
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                                                        TO MOT.    DISMISS
                                                                TO DISMISS
      Case 8:22-ml-03052-JVS-KES         Document 550 Filed 08/19/24         Page 18 of 18 Page
                                             ID #:17258



 1
 1                                 CERTIFICATE OF
                                   CERTIFICATE OF SERVICE
                                                  SERVICE
22             II certify that on
                  certify that    August 19,
                               on August 19, 2024,
                                             2024, II electronically filed the
                                                      electronically filed the foregoing
                                                                               foregoing
3
3     document with the
      document with the Clerk
                        Clerk of the Court
                              of the       using the
                                     Court using the CM/ECF
                                                     CM/ECF system
                                                            system which
                                                                   which will
                                                                         will send
                                                                              send
 44   notification of
      notification of such filing to
                      such filing to all
                                     all counsel
                                         counsel of record.
                                                 of record.
 55
 66
                                                 /s/
                                                 /s/ Gretchen Freeman Cappio
                                                     Gretchen Freeman Cappio
 77                                              GRETCHEN      FREEMAN CAPPIO
                                                 GRETCHEN FREEMAN        CAPPIO
 8
 8
      4870-2795-9509, v. 9
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       No. 8:22-ML-03052-JVS-KES
       No. 8:22-ML-03052-JVS-KES               TACOMA
                                               TACOMA OPP’N
                                                      OPP'N TO MOT. TO
                                                            TO MOT.    DISMISS
                                                                    TO DISMISS
